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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

Letitia James, In her Official Capacity, Managing Attorney's Office Office of the Attorney General
. 28 Liberty St., 16th Floor
was received by me on (date) 8/07/2020 .New York, NY 10005

 

1 I personally served the summons on the individual at (place)

 

On (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

( I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

on (date) 9/10/2020 at 1:50 pm > OF

 

[] I returned the summons unexecuted because ; or

 

~ Other (specify):

To serve Defendant in her official capacity, in accordance with New York Civil Practice Law and Rules § 307, on August 10, 2020,
| hand-delivered a copy of the summons and complaint in this action to John Holmes in the Managing Attorney's

Office of the New York Office of the Attorney General at 28 Liberty St., 16th Floor New York, NY 10005 who is authorized

by Defendant's standing designation to accept service on her behalf.

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 8/10/2020 ALIA

f Server's signature

Majd Hussein, Process Server (2090551-DCA)

Printed name and title

19 Paerdegat 11th St
Brooklyn, NY 11236
800-637-1805

Server's address

 

Additional information regarding attempted service, etc:
Document(s) Served: Summons in a Civil Action, Notice, General Order #25, Civil Case Management Plan, Case Assignment
Form, Consent to the Exercise of Civil Jurisdiction by a Magistrate Judge, Notice, Consent, and Reference of a Civil Action to a
Magistrate Judge, Notice to Parties of Court-Directed Mandatory Mediation Program, Civil Cover Sheet.
